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UNITED STATES COURT OF APPEALS
FOR THE NINTH CIRCUIT
Form 1. Notice of Appeal from a Judgment or Order of a
United States District Court

 

 

Name of U.S. District Court: [Western District of Washington

 

 

U.S. District Court case number: |C20-1093RSL

 

 

 

Date case was first filed in U.S. District Court: [Western District of Washington

 

 

Date of judgment or order you are appealing: [06/03/2021

 

 

 

Fee paid for appeal? (appeal fees are paid at the U.S. District Court)

™ Yes @ No C IFP was granted by U.S. District Court

 

List all Appellants (List each party filing the appeal. Do not use “et al.” or other abbreviations.)

 

Karlene K Petitt

 

 

Is this a cross-appeal? C Yes @No

 

 

 

If Yes, what is the first appeal case number? [NA .

 

Was there a previous appeal in this case? C Yes @No

 

 

 

If Yes, what is the prior appeal case number? [NA

 

Your mailing address:

19671 Military Rd. S

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

City: SeaTac State: [WA | Zip Code:98188

 

 

 

 

 

Prisoner Inmate or A : Nenibee af applicable); NA

Signature Kiba Vela Date | OG /2y /2e 2

Complete and file with the attached repre ation statement in the U.S. District Court

 

 

 

 

 

 

 

 

 

Feedback or questions about this form? Email us at forms@ca9.uscourts. gov

 

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UNITED STATES COURT OF APPEALS
FOR THE NINTH CIRCUIT

Form 6. Representation Statement
Instructions for this form: http://www.ca9.uscourts.gov/forms/formO6instructions.pdf
Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
Name(s) of party/parties:
[Karlene K Petitt

 

Name(s) of counsel (if any):
None

 

 

 

 

 

Address: {19671 Military Rd. § SeaTac WA 98188
Telephone number(s): 206-856-2445
Email(s): Karlene. Petitt@gmail.com

 

 

 

 

 

 

Is counsel registered for Electronic Filing in the 9th Circuit? C Yes © No

 

Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
separately represented parties separately.)

Name(s) of party/parties:
‘Airline Pilots Association
Known as ALPA

 

 

Name(s) of counsel (if any): _
Jim K Lobsenz
Thomas N Ciantra

 

 

 

 

 

Address: {7950 JONES BRANCH DRIVE STE 400SMCLEAN, VA 22102
Telephone number(s): |703-481-2423; 703-481-2468

 

 

 

 

 

 

Email(s): iim. lobsenz@alpa.org Thomas.Ciantra@alpa.org

 

To list additional parties and/or counsel, use next page.

Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

 

Form 6 I New 12/01/2018

 
